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NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA,                              Criminal Action No.: 11 -.768 (JLL)

                     Plaintiff,                                        ORDER

  V.


  JOVANY CLERMONT,
  etal

                     Defendants.


       This matter has been set for a firm trial date of Monday, February 4, 2013 at 9:30 AM

before this Court in Courtroom 5D, 5
                                   th
                                      floor of the Martin Luther King Jr., Federal Building,

Newark, New Jersey. You must be prepared and ready to proceed for trial at that time; no

adjournments will be granted.

       This timeline for pretrial motions and other trial matters shall be as follows:

       1.     Fully-briefed motions in limine are due to the Court on January 24, 2013. The
              parties shall meet-and-confer on an appropriate briefing schedule to ensure that
              the Court receives only fully-briefed motions by that date.

       2.     No later than January 24, 2013, the following must be submitted to this Court:

              a.      Jointly agreed to proposed voir dire questions;
              b.      Jointly agreed to neutral statement about the case, not to exceed one
                      paragraph;
              c.      Jointly agreed to proposed jury charges. If there are charges on which the
                      parties cannot reach agreement, those charges should be submitted
                      separately in one document of disputed charges. For each disputed charge,
                      both parties’ versions should be listed together with supporting authorities.
                      The agreed upon version of charges should be clearly marked as “Agreed
                      Upon” and should not contain authorities; and


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           d.     A single numbered list of all exhibits, including a brief description and any
                  objection to the exhibit.

           All of these items should be submitted to the Court in hard copy form delivered to
           chambers. A copy should also be provided to the Court in electronic format on
           CD, saved in WordPerfect or an early version of Word.

     3.    For trial, all exhibits should be pre-marked and must include exhibit stickers.
           Copies of all trial exhibits must be prepared for the Judge, the Court Deputy, the
           Court Reporter, and opposing counsel.

     4.    Oral argument on in lirnine motions to be scheduled by the Court.

     IT IS on this 12t1 of SEPTEMBER, 2012, SO ORDERED.




                                                 JJiLinares
                                                 United States District Judge




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